4:24-cv-03177-SMB-MDN Doc# 64-13
Short Message Report

Conversations: 1
Total Messages: 3

Outline of Conversations

CJ +15412161584 » 3 messages on 10/3/2024

Filed: 01/31/25

Participants: 2
Date Range: 10/3/2024

<4026415432>

« Matt Hudson <5412161584>

Page 1 of 2 - Page ID #1156

Daws0001655

4:24-cv-03177-SMB-MDN Doc#64-13 Filed: 01/31/25 Page 2 of 2- Page ID# 1157

Messages in chronological order (times are shown in GMT +00:00)

CJ +15412161584

MH Matt Hudson <5412161584> m 10/3/2024, 1:59 PM
Got this text do you want me to respond?

File "707f5942-ede5-474c-8a51-241e264e6752.ipq" is missing.
Image: ~_Library_SMS_Attachments_1b_11_E8DEA9A7-FOFB-49C9-8E68-CDA0431FD7F2_image000001 jpg (83 KB)

Receipts « <4026415432> [R:10/3/2024, 2:08 PM]

>H _Matt Hudson <5412161584> m 10/3/2024, 1:59 PM
image000001.jpg

Receipts « <4026415432> [R:10/3/2024, 2:08 PM]

>it <4026415432> @ 10/3/2024, 2:09 PM
Your choice. I'm not allowed to talk to you

Daws0001656

